                                                                                                                              Page 1 of 7


                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                              WESTERN DISTRICT OF MISSOURI
                                                   CENTRAL DIVISION

UNITED STATES OF AMERICA

-vs-                                                                        Case No.: 09-4003-09-CR-C-NKL

ROBERT LEE JONES

                                                                            USM Number: 20702-045

                                                               Kevin O’Brien, CJA
                                                               28 N 8th Street, Ste 517
                                                               Columbia, MO 65203
                                           ___________________________________

                                               JUDGMENT IN A CRIMINAL CASE


The defendant pleaded guilty to Count 17, 30, and 40 of the Superseding Indictm ent on July 7, 2009. Accordingly, the court
has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                 Date Offense           Count
       Title & Section                                  Nature of Offense                         Concluded           Num ber(s)

 21 USC 843(b)(Class E           Use of a Com m unications Facility in Furtherance of a          July 18, 2008               17s
 Felony)                         Drug Trafficking Conspiracy

 18 USC 922(g)(1) and            Felon in Possession of a Firearm                                April 25, 2008              30s
 924(a)(2)(Class C
 felony)

 18 USC 371 and                  Conspiracy to Possess and Use Firearm s in                       January 29,                40s
 924(o)(Class C Felony)          Furtherance of a Drug Trafficking Operation                    2009

The defendant is sentenced as provided in the following pages of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.

All rem aining counts are dism issed on the m otion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of nam e,
residence, or m ailing address until all fines, restitution, costs and special assessm ents im posed by this judgm ent are fully paid.
If ordered to pay restitution, the defendant shall notify the court and U nited States attorney of any m aterial change in the
defendant’s econom ic circum stances.

                                                                            Date of Im position of Sentence: April 8, 2010




                                                                            _Nanette Laughrey_________________
                                                                            NANETTE LAUGHREY
                                                                            UNITED STATES DISTRICT JUDGE

                                                                            April 13, 2010



AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                    Document 568          Filed 04/13/10        Page 1 of 7
ROBERT LEE JONES                                                                                                  Page 2 of 7
09-4003-09-CR-C-NKL

                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for 48
M onths on Count 17s, 120 months on Count 30s, and 121 months on Count 40s, all to be served concurrently, for
a total term of 121 months.

         The defendant is rem anded to the custody of the United States Marshal.




                                                          RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                            __________________________________
                                                                                   UNITED STATES MARSHAL


                                                                        By:__________________________________
                                                                                    Deputy U.S. Marshal




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                Document 568    Filed 04/13/10        Page 2 of 7
ROBERT LEE JONES                                                                                                          Page 3 of 7
09-4003-09-CR-C-NKL

                                                        SUPERVISED RELEASE

        Upon release from im prisonm ent, the defendant shall be on supervised release for a term of 3 years. This consists
of 1 year on Count 17s and 3 years on each of Counts 30s and 40s, the terms to run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

         The defendant shall not com m it another federal, state or local crim e.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful
use of a controlled substance. The defendant shall subm it to one drug test within 15 days of release from im prisonm ent and
at least two periodic drug tests thereafter, as determ ined by the court.

         The defendant shall not possess a firearm , destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

       If this judgm ent im poses a fine or restitution, it is a condition of supervision that the defendant pay in accordance with
the Schedule of Paym ents sheet of this judgm ent.

        The defendant m ust com ply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the perm ission of the court or probation officer;

2.       The defendant shall report to the probation officer and shall subm it a truthful and com plete written report within the
         first five days of each m onth;

3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

4.       The defendant shall support his or her dependents and m eet other fam ily responsibilities;

5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

6.       The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or em ploym ent;

7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
         adm inister any controlled substance or any paraphernalia related to any controlled substances, except as prescribed
         by a physician;

8.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

9.       The defendant shall not associate with any persons engaged in crim inal activity and shall not associate with any person
         convicted of a felony, unless granted perm ission to do so by the probation officer;

10.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

11.      The defendant shall notify the probation officer within seventy-tw o (72) hours of being arrested or questioned by a
         law enforcem ent officer;


AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                  Document 568       Filed 04/13/10        Page 3 of 7
ROBERT LEE JONES                                                                                                         Page 4 of 7
09-4003-09-CR-C-NKL

12.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency
         without the perm ission of the court;

13.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the
         defendant’s crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake such
         notifications and to confirm the defendant’s com pliance with such notification requirem ent.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                Document 568         Filed 04/13/10        Page 4 of 7
ROBERT LEE JONES                                                                                                           Page 5 of 7
09-4003-09-CR-C-NKL

                              ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

         The defendant shall also com ply with the following additional conditions of supervised release:

1.       The defendant shall successfully participate in a substance abuse counseling program , which m ay include urinalysis,
         sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay any associated costs as directed
         by the Probation Office.


2.       The defendant shall satisfy all warrants and/or pending charges within the first 60 days of supervised release.


3.       The defendant shall subm it his person, residence, office or vehicle to a search, conducted by a U.S. Probation Officer
         at a reasonable tim e and in a reasonable m anner, based upon reasonable suspicion of contraband or evidence of a
         violation of a condition of release; failure to subm it to a search m ay be grounds for revocation; the defendant shall warn
         any other residents that the prem ises m ay be subject to searches pursuant to this condition.


4.       If the defendant does not earn a GED while incarcerated, he shall provide docum entation of participation in GED
         classes while on supervision, and shall provide docum entation that he has taken the GED exam .


5.       The defendant shall com ply with the W estern District of Missouri Offender Em ploym ent Guideline which m ay include
         participation in training, counseling, and/or daily job searching as directed by the probation officer. If not in com pliance
         with the condition of supervision requiring full-tim e em ploym ent at a lawful occupation, the defendant m ay be required
         to perform up to 20 hours of com m unity service per week until em ployed, as approved or directed by the probation
         officer.




                                      ACKNOW LEDGM ENT OF CONDITIONS

        I have read or have had read to m e the conditions of supervision set forth in this judgm ent and I fully understand them .
I have been provided a copy of them .

        I understand that upon finding of a violation of probation or supervised release, the Court m ay (1) revoke supervision,
(2) extend the term of supervision, and/or (3) m odify the conditions of supervision.

_______________________________________                   ____________________
Defendant                                                 Date

________________________________________                  ____________________
United States Probation Officer                            Date




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                Document 568          Filed 04/13/10         Page 5 of 7
ROBERT LEE JONES                                                                                                                               Page 6 of 7
09-4003-09-CR-C-NKL

                                                CRIMINAL MONETARY PENALTIES


        The defendant m ust pay the total crim inal m onetary penalties under the schedule of paym ents set forth in the Schedule
of Paym ents.


             Total Assessment                                         Total Fine                                     Total Restitution

                    $300.00                                                 $                                                   $



         The defendant shall pay interest on any fine or restitution of m ore than $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the
Schedule of Paym ents m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Note: Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                   Case 2:09-cr-04003-BCW                       Document 568               Filed 04/13/10            Page 6 of 7
ROBERT LEE JONES                                                                                                     Page 7 of 7
09-4003-09-CR-C-NKL

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         Special Assessm ent of $300.00 is due im m ediately.

Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal
Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.




AO 245B (Rev. 9/08- 2/10) Judgment in a Criminal Case
                  Case 2:09-cr-04003-BCW                Document 568      Filed 04/13/10        Page 7 of 7
